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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


AMIE L. MORNINGSTAR,
                                                         Case No. 2:15-cv-3077
              Plaintiff,
                                                         JUDGE ALGENON L. MARBLEV
       V.

                                                         Magistrate Judge Deavers
CIRCLEVILLE FIRE & EMS
DEPARTMENT, crai,

              Defendants.



                                VERDICT AND DAMAGES


1. On Plaintiff Amie Momingstar's federal disparate treatment claim against Defendants
Circleville Fire Department and EMS Department and the City of Circleville, we find in favor of
(check one)

  \/ PlaintiffAmie Momingstar or
      Defendants Circleville Fire Department and EMS Department and the City of Circleville.


2. On PlaintiffAmie Momingstar's federal retaliation claim against Defendants Circleville Fire
Department and EMS Department and the City of Circleville, we find in favor of (check one)

  V   PlaintiffAmie Momingstar or

      Defendants Circleville FireDepartment and EMS Department and the Cityof Circleville.


3. On Plaintiff Amie Momingstar's federal hostile work environment claim against Defendants
Circleville FireDepartment & EMS Department and the Cityof Circleville, we find in favor of
(check one)

 \l PlaintiffAmie Momingstar or
      Defendants Circleville Fire Department & EMS Department and the City of Circleville.
4. On PlaintiffAmie Momingstar's state law disparate treatment claim against Defendants
Circleville FireDepartment and EMS Department and the CityofCircleville, we find in favor of
(check one)


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 L     Plaintiff Amie Momingstar or

       Defendants CirclevilleFire Department and EMS Department and the City of Circleville.


 5. On Plaintiff Amie Momingstar's state law retaliation claim against Defendants Circleville Fire
 Department and EMS Department and the City of Circleville, we find in favor of(check one)

       Plaintiff Amie Momingstar or

       Defendants Circleville Fire Department and EMS Department and the City of Circleville.


 6. On Plaintiff Amie Momingstar's state law sexual harassment/hostilework environment claim
 against Defendants Circleville Fire Department & EMS Department and the City of Circleville,
 we find in favor of (check one)

 ^ PlaintiffAmie Momingstaror
       Defendants Circleville FireDepartment & EMS Department and the Cityof Circleville.


 7. On Plaintiff Amie Momingstar's intentional inflictionof emotional distress claim against
 Defendant Marc Zingarelli, we find in favor of (check one)

  J PlaintiffAmie Momingstar or
        Defendant Marc Zingarelli.

 Complete thefollowing question onlyifat leastone ofthe abovefindings is infavor of
 PlaintiffAmie Momingstar.

 We find Plaintiffs compensatory damages to be:


   3 / ^0^0' OOO * OO                                [state the amount,
                                                     Plaintiff's damagesorhave
                                                                           ifyoufind that value,
                                                                               no monetary
                                                     setforth a nominal amount such as $1.00;
                                                     see instruction numbers 36, 37, 38, 39, 40,
                                                     44, 46, and 48for reference, depending on
                                                     yourfindings above].




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Ifyoufound infavor ofPlaintiffAmie Morningstar on her intentional infliction ofemotional
dt^ess claim againstDefendantMarc Zingareili (statement 7above), you must determine
whether Marc Zingareili is liableforpunitive damages in addlHon to any compensatory
damages awarded above. Complete thefollowing question only ifyoufind by clear and
convincing evidence thatMarc Zingarelli's actions demonstrated actual malice:
In addition to compensatory damages, we make the following award to PlaintiffAmie
Mormngstar against Marc Zingareili for punitive damages related to her intentional infliction of
emotional distress claim:



$ \00j00[.00                                         [state the amount, ifany, youfind Plaintiff's
                                                      punitive damages to be; see instruction
                                                      number 47for reference].
We the jury so render our verdict upon the concurrence ofthose members who have signed below.
All jurors must agree. Each juror concurring in this verdict sign his/her name hereto.




                                                       U


SIGNED THIS           DAY OF                        2018




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